Case 4:22-cv-03359 Document 97-2 Filed on 11/03/23 in TXSD Page 1 of 11




           Exhibit B
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                              Case 4:22-cv-03359 Document 97-2 Filed on 11/03/23 in TXSD Page 2 of 11
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                                                            PROMULGATED BY THE TEXAS REAL ESTATE COMMISSION (TREC)                                                                 11-07-2022


                                                                      UNIMPROVED PROPERTY CONTRACT
                              TREC
                              „P.   OM MATE COPHISSION
                                                                  NOTICE: Not For Use For Condominium Transactions                                                                 EQUAL POURING
                                                                                                                                                                                    OPPORTUNITY
                                                                                               John Lewis Jr., Court-Ap i to
                                                                                                                 n S.E.C. v. Chavez, et al.
                        1.     PARTIES: The parties to this contract are                                     , .                            (Seller)
                               and                            Derek Nelson and/or assigns                                (Buyer). Seller agrees
                               to sell and convey to Buyer and Buyer agrees to buy from Seller the Property defined below.
                        2.     PROPERTY: Lot                           1                         , Block                                                                                                 JLJ
                                                                                                                                                                                                       of4 V
                                                                                                                                                                                                      08/04/23
                                                                                                                                                                                                        08/04/23
                                                                                                                                                                                                     1:31 AM EDT
                                                        S432500 CLEAR CREEK DEVELOPMENT 25.132                                        Addition,                                                      11:31 AM EDT
                                                                                                                                                                                                     [loop verifl
                                                                                                                                                                                                   ddotloop       d
                                                                                                                                                                                                            verified
                               City of                Hempstead                  , County of                       Waller
                               Texas, known as                            0 Mack Washington                                       77445
                               (address/zip code), or as described on attached exhibit together with all rights, privileges and
                               appurtenances pertaining thereto (Property).
                               RESERVATIONS: Any reservation for oil, gas, or other minerals, water, timber, or other interests is
                               made in accordance with an attached addendum.
                        3.     SALES PRICE:
                               A. Cash portion of Sales Price payable by Buyer at closing                                                                                       1,100,000.00
                                  The term "Cash portion of the Sales Price" does not include proceeds from borrowing of any
                                  kind or selling other real property except as disclosed in this contract.
                               B. Sum of all financing described in the attached: ❑ Third Party Financing Addendum,
                                     Loan Assumption Addendum,                       [Seller
                                                                              Financing Addendum                                                                                 0.00
                               C. Sales Price (Sum of A and B)                                                                                                                  1,100,000.00
                        4.     LEASES:
                               A. Except as disclosed in this contract, Seller is not aware of any leases affecting the Property.
                                  After the Effective Date, Seller may not, without Buyer's written consent, create a new lease,
                                  amend any existing lease, or convey any interest in the Property.
                               B. NATURAL RESOURCE LEASES: "Natural Resource Lease" means an existing oil and gas,
                                  mineral, water, wind, or other natural resource lease affecting the Property to which Seller is a
                                  party. Seller ❑ is                 N
                                                            is not a party to a Natural Resource Lease. If Seller is a party to a
                                  Natural Resource Lease, check one of the following:
                                  (1) Seller has delivered to Buyer a copy of all the Natural Resource Leases.
                                  (2) Seller has not delivered to Buyer a copy of all the Natural Resource Leases. Seller shall
                                       provide to Buyer a copy of all the Natural Resource Leases within 3 days after the Effective
                                       Date. Buyer may terminate the contract within                 NA     days after the date the Buyer
                                       receives all the Natural Resource Leases and the earnest money shall be refunded to Buyer.
                         5.    EARNEST MONEY AND TERMINATION OPTION:
                               A. DELIVERY OF EARNEST MONEY AND OPTION FEE: Within 3 days after the Effective Date, Buyer
                                  must deliver to                   Fidelity National Title                   (Escrow Agent) at 23226 Red
                                  River Dr., Katy, TX 77494                                                  (address): $ 22,000.00
                                  as earnest money and $ 500.00                                as the Option Fee. The earnest money and Option
                                  Fee shall be made payable to Escrow Agent and may be paid separately or combined in a single
                                  payment.
                                  (1) Buyer shall deliver additional earnest money of $NA                               to Escrow Agent within
                                           NA    days after the Effective Date of this contract.
                                  (2) If the last day to deliver the earnest money, Option Fee, or the additional earnest money
                                       falls on a Saturday, Sunday, or legal holiday, the time to deliver the earnest money, Option
                                       Fee, or the additional earnest money, as applicable, is extended until the end of the next
                                       day that is not a Saturday, Sunday, or legal holiday.
                                  (3) The amount(s) Escrow Agent receives under this paragraph shall be applied first to the
                                       Option Fee, then to the earnest money, and then to the additional earnest money.
                                  (4) Buyer authorizes Escrow Agent to release and deliver the Option Fee to Seller at any time
                                       without further notice to or consent from Buyer, and releases Escrow Agent from liability for
                                       delivery of the Option Fee to Seller. The Option Fee will be credited to the Sales Price at
                                       closing.
                               B. TERMINATION OPTION: For nominal consideration, the receipt of which Seller acknowledges,
                                  and Buyer's agreement to pay the Option Fee within the time required, Seller grants Buyer the
                                  unrestricted right to terminate this contract by giving notice of termination to Seller within
                                        60days after the Effective Date of this contract (Option Period). Notices under this
                                  paragraph must be given by 5:00 p.m. (local time where the Property is located) by the date
                                  specified. If Buyer gives notice of termination within the time prescribed: (i) the Option Fee
                                  will not be refunded and Escrow Agent shall release any Option Fee remaining with Escrow
                                        Anent to Saar-       and till any parnpst mnnpv will hp rp                               hover

                     Initialed for identification by Buyer               oma                      and Seller
                                                                                                                      JLJ
                                                                                                                      08/Q4/23                                                   TREC NO. 9-16
                                                                                                                      08/04/23
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                                                                                                                             AM EDT
            Texas Trust Real Estate, 402 4th Street Sealy TX 77474                                                    dotloop verified
                                                                                                                     dodoop   verified  Phone: 9798856925            Fax: 8662795674                   Nelson
            Kristen Nelson NovIcke                         Produced with Lone Wolf Transactions (zipForm Edition) 717 N Harwood St, Suite 2200, Dallas, TX 75201   www.Iwolf.com
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                             Case 4:22-cv-03359 Document 97-2 Filed on 11/03/23 in TXSD Page 3 of 11
     DocuSign Envelope ID: FBB542FA-542E-4618-A49C-14DC61F3CC77
                  Contract Concerning               0 Mack Washington, Hempstead , TX 77445                                                    Page 2 of 10   11-07-2022
                                                                                   (Address of Property)

                           C. FAILURE TO TIMELY DELIVER EARNEST MONEY: If Buyer fails to deliver the earnest money
                              within the time required, Seller may terminate this contract or exercise Seller's remedies under
                              Paragraph 15, or both, by providing notice to Buyer before Buyer delivers the earnest money.
                           D. FAILURE TO TIMELY DELIVER OPTION FEE: If no dollar amount is stated as the Option Fee or if
                              Buyer fails to deliver the Option Fee within the time required, Buyer shall not have the
                              unrestricted right to terminate this contract under this Paragraph 5.
                           E. TIME: Time is of the essence for this paragraph and strict compliance with the time for
                              performance is required.
                       6 TITLE POLICY AND SURVEY:
                           A. TITLE POLICY: Seller shall furnish to Buyer at               Seller's ❑ Buyer's expense an owner's policy of
                              title insurance (Title Policy) issued by                                 Fidelity Title
                              (Title Company) in the amount of the Sales Price, dated at or after closing, insuring Buyer
                              against loss under the provisions of the Title Policy, subject to the promulgated exclusions
                              (including existing building and zoning ordinances) and the following exceptions:
                              (1) Restrictive covenants common to the platted subdivision in which the Property is located.
                              (2) The standard printed exception for standby fees, taxes and assessments.
                              (3) Liens created as part of the financing described in Paragraph 3.
                              (4) Utility easements created by the dedication deed or plat of the subdivision in which the
                                     Property is located.
                              (5) Reservations or exceptions otherwise permitted by this contract or as may be approved by
                                     Buyer in writing.
                              (6) The standard printed exception as to marital rights.
                              (7) The standard printed exception as to waters, tidelands, beaches, streams, and related
                                     matters.
                              (8) The standard printed exception as to discrepancies, conflicts, shortages in area or boundary
                                     lines, encroachments or protrusions, or overlapping improvements:
                                  (i) will not be amended or deleted from the title policy; or
                                  (ii) will be amended to read, "shortages in area" at the expense of ❑X Buyer ❑ Seller.
                              (9) The exception or exclusion regarding minerals approved by the Texas Department of
                                     Insurance.
                           B. COMMITMENT: Within 20 days after the Title Company receives a copy of this contract, Seller
                              shall furnish to Buyer a commitment for title insurance (Commitment) and, at Buyer's expense,
                              legible copies of restrictive covenants and documents evidencing exceptions in the Commitment
                              (Exception Documents) other than the standard printed exceptions. Seller authorizes the Title
                              Company to deliver the Commitment and Exception Documents to Buyer at Buyer's address
                              shown in Paragraph 21. If the Commitment and Exception Documents are not delivered to
                              Buyer within the specified time, the time for delivery will be automatically extended up to 15
                              days or 3 days before the Closing Date, whichever is earlier. If the Commitment and Exception
                              Documents are not delivered within the time required, Buyer may terminate this contract and
                              the earnest money will be refunded to Buyer.
                           C. SURVEY: The survey must be made by a registered professional land surveyor acceptable to the
                              Title Company and Buyer's lender(s). (Check one box only)
                           ❑ (1) Within             NA          days after the Effective Date of this contract, Seller shall furnish to Buyer and
                                     Title Company Seller's existing survey of the Property and a Residential Real Property
                                     Affidavit promulgated by the Texas Department of Insurance (T-47 Affidavit). If Seller fails
                                     to furnish the existing survey or affidavit within the time prescribed, Buyer shall
                                     obtain a new survey at Seller's expense no later than 3 days prior to Closing Date.
                                     If the existing survey or affidavit is not acceptable to Title Company or Buyer's lender(s),
                                     Buyer shall obtain a new survey at                  ❑
                                                                                  Seller's      Buyer's expense no later than 3 days prior
                                     to Closing Date.
                           ❑ (2) Within            NA         days after the Effective Date of this contract, Buyer shall obtain a new survey
                                     at Buyer's expense. Buyer is deemed to receive the survey on the date of actual receipt or
                                     the date specified in this paragraph, whichever is earlier.
                           ❑ (3) Within            NA         days after the Effective Date of this contract, Seller, at Seller's expense shall
                                     furnish a new survey to Buyer.
                           D. OBJECTIONS: Buyer may object in writing to (i) defects, exceptions, or encumbrances to title:
                              disclosed on the survey other than items 6A(1) through (7) above; or disclosed in the
                              Commitment other than items 6A(1) through (9) above; (ii) any portion of the Property lying in
                        DS    a special flood hazard area (Zone V or A) as shown on the current Federal Emergency
                              Management Agency map; or (iii) any exceptions which prohibit the following use or activity:

                                 Buyer must object the earlier of (i) the Closing Date or (ii)    3         days after Buyer receives the
                                 Commitment, Exception Documents, and the survey. Buyer's failure to object within the time
                                 allowed will constitute a waiver of Buyer's right to object; except that the requirements in
                                 Schedule C of the Commitment are not waived. Provided Seller is not obligated to incur any
                                 expense, Seller shall cure any timely objections of Buyer or any third party lender within 15
                                 days after Seller receives the objections (Cure Period) and the Closing Date will be extended as
                                 necessary. If objections are not cured within the Cure Period, Buyer may, by delivering notice to
                                 Seller within 5 days after the end of the Cur 1:' , ”""d" (i) terminate this contract and the earnest
                                 money will be refu
                    Initialed for identification by Buyer
                                                            fi to Buyer; or (ii)
                                                           Ah4Q              and Seller 08104/23
                                                                                                      JLJ
                                                                                        geoF objections. If Buyer does not terminate
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     DocuSign EnvelopeCase    4:22-cv-03359 Document 97-2 Filed on 11/03/23 in TXSD Page 4 of 11
                      ID: FBB542FA-542E-4618-A49C-14DC61F3CC77
                  Contract Concerning              0 Mack Washington, Hempstead , TX 77445 Page 3 of 10 11-07-2022
                                                                                   (Address of Property)
                                within the time required, Buyer shall be deemed to have waived the objections. If the
                                Commitment or survey is revised or any new Exception Document(s) is delivered, Buyer may
                                object to any new matter revealed in the revised Commitment or survey or new Exception
                                Document(s) within the same time stated in this paragraph to make objections beginning when
                                the revised Commitment, survey, or Exception Document(s) is delivered to Buyer.
                             E. TITLE NOTICES:
                                (1) ABSTRACT OR TITLE POLICY: Broker advises Buyer to have an abstract of title covering the
                                     Property examined by an attorney of Buyers selection, or Buyer should be furnished with or
                                     obtain a Title Policy. If a Title Policy is furnished, the Commitment should be promptly
                                     reviewed by an attorney of Buyer's choice due to the time limitations on Buyer's right to
                                     object.
                                (2) MEMBERSHIP IN PROPERTY OWNERS ASSOCIATION(S): The Property                            is not subject            D is x
                                     to mandatory membership in a property owners association(s). If the Property is subject to
                                     mandatory membership in a property owners association(s), Seller notifies Buyer under
                                     §5.012, Texas Property Code, that, as a purchaser of property in the residential community
                                     identified in Paragraph 2 in which the Property is located, you are obligated to be a member
                                     of the property owners association(s). Restrictive covenants governing the use and
                                     occupancy of the Property and all dedicatory instruments governing the establishment,
                                     maintenance, and operation of this residential community have been or will be recorded in
                                     the Real Property Records of the county in which the Property is located. Copies of the
                                     restrictive covenants and dedicatory instruments may be obtained from the county clerk.
                                     You are obligated to pay assessments to the property owners association(s). The
                                     amount of the assessments is subject to change. Your failure to pay the
                                     assessments could result in enforcement of the association's lien on and the
                                     foreclosure of the Property.
                                     Section 207.003, Property Code, entitles an owner to receive copies of any document that
                                     governs the establishment, maintenance, or operation of a subdivision, including, but not
                                     limited to, restrictions, bylaws, rules and regulations, and a resale certificate from a property
                                     owners' association. A resale certificate contains information including, but not limited to,
                                     statements specifying the amount and frequency of regular assessments and the style and
                                     cause number of lawsuits to which the property owners' association is a party, other than
                                     lawsuits relating to unpaid ad valorem taxes of an individual member of the association.
                                     These documents must be made available to you by the property owners' association or the
                                     association's agent on your request.
                                     If Buyer is concerned about these matters, the TREC promulgated Addendum for
                                     Property Subject to Mandatory Membership in a Property Owners Association
                                     should be used.
                                (3) STATUTORY TAX DISTRICTS: If the Property is situated in a utility or other statutorily
                                     created district providing water, sewer, drainage, or flood control facilities and services,
                                     Chapter 49, Texas Water Code, requires Seller to deliver and Buyer to sign the statutory
                                     notice relating to the tax rate, bonded indebtedness, or standby fee of the district prior to
                                     final execution of this contract.
                                (4) TIDE WATERS: If the Property abuts the tidally influenced waters of the state, §33.135,
                                     Texas Natural Resources Code, requires a notice regarding coastal area property to be
                                     included in the contract. An addendum containing the notice promulgated by TREC or
                                     required by the parties must be used.
                                (5) ANNEXATION: If the Property is located outside the limits of a municipality, Seller notifies
                                     Buyer under §5.011, Texas Property Code, that the Property may now or later be included in
                                     the extraterritorial jurisdiction of a municipality and may now or later be subject to
                                     annexation by the municipality. Each municipality maintains a map that depicts its
                                     boundaries and extraterritorial jurisdiction. To determine if the Property is located within a
                                     municipality's extraterritorial jurisdiction or is likely to be located within a municipality's
                                     extraterritorial jurisdiction, contact all municipalities located in the general proximity of the
                                     Property for further information.
                                (6) PROPERTY LOCATED IN A CERTIFICATED SERVICE AREA OF A UTILITY SERVICE PROVIDER:
                                     Notice required by §13.257, Water Code: The real property, described in Paragraph 2, that
                                     you are about to purchase may be located in a certificated water or sewer service area,
                                     which is authorized by law to provide water or sewer service to the properties in the
                                     certificated area. If your property is located in a certificated area there may be special costs
                                     or charges that you will be required to pay before you can receive water or sewer service.
                                     There may be a period required to construct lines or other facilities necessary to provide
                                     water or sewer service to your property. You are advised to determine if the property is in a
                                     certificated area and contact the utility service provider to determine the cost that you will be
                                     required to pay and the period, if any, that is required to provide water or sewer service to
                                     your property. The undersigned Buyer hereby acknowledges receipt of the foregoing notice
                                     at or before the execution of a binding contract for the purchase of the real property
                                     described in Paragraph 2 or at closing of purchase of the real property.
                                (7) PUBLIC IMPROVEMENT DISTRICTS: If the Property is in a public improvement district, Seller
                                     must give Buyer written notice as required by §5.014, Property Code. An addendum
                                     containing the required notice shall be attached to this contract.

                    Initialed for identification by Buyer
                                                                                                        JLJ
                                                                                                        /of
                                                                                      and Seller _ 08/04/23                                                     TREC NO. 9-16
                                                                                                            08/04/23
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    DocuSign EnvelopeCase    4:22-cv-03359 Document 97-2 Filed on 11/03/23 in TXSD Page 5 of 11
                     ID: FBB542FA-542E-4618-A49C-14DC61F3CC77
                 Contract Concerning              0 Mack Washington, Hempstead , TX 77445 Page 4 of 10 11-07-2022
                                                                                         (Address of Property)
                                   (8) TEXAS AGRICULTURAL DEVELOPMENT DISTRICT: The Property ❑ is 11is not located in a
                                        Texas Agricultural Development District. For additional information, contact the Texas
                                        Department of Agriculture.
                                   (9) TRANSFER FEES: If the Property is subject to a private transfer fee obligation, §5.205,
                                        Property Code requires Seller to notify Buyer as follows: The private transfer fee obligation
                                        may be governed by Chapter 5, Subchapter G of the Texas Property Code.
                                   (10) PROPANE GAS SYSTEM SERVICE AREA: If the Property is located in a propane gas system
                                        service area owned by a distribution system retailer, Seller must give Buyer written notice as
                                        required by §141.010, Texas Utilities Code. An addendum containing the notice approved by
                                        TREC or required by the parties should be used.
                                   (11) NOTICE OF WATER LEVEL FLUCTUATIONS: If the Property adjoins an impoundment of water,
                                        including a reservoir or lake, constructed and maintained under Chapter 11, Water Code,
                                        that has a storage capacity of at least 5,000 acre-feet at the impoundment's normal
                                        operating level, Seller hereby notifies Buyer: "The water level of the impoundment of water
                                        adjoining the Property fluctuates for various reasons, including as a result of: (1) an entity
                                        lawfully exercising its right to use the water stored in the impoundment; or (2) drought or
                                        flood conditions."
                                   (12) REQUIRED NOTICES: The following notices have been given or are attached to this contract
                                        (for example, MUD, WCID, PID notices): NA


                       7.    PROPERTY CONDITION:
                             A. ACCESS, INSPECTIONS AND UTILITIES: Seller shall permit Buyer and Buyer's agents access to
                                the Property at reasonable times. Buyer may have the Property inspected by inspectors
                                selected by Buyer and licensed by TREC or otherwise permitted by law to make inspections.
                                Seller at Seller's expense shall immediately cause existing utilities to be turned on and shall
                                keep the utilities on during the time this contract is in effect.
                                NOTICE: Buyer should determine the availability of utilities to the Property suitable to satisfy
                                Buyer's needs.
                             B. ACCEPTANCE OF PROPERTY CONDITION: "As Is" means the present condition of the Property
                                with any and all defects and without warranty except for the warranties of title and the
                                warranties in this contract. Buyer's agreement to accept the Property As Is under Paragraph 7B
                                (1) or (2) does not preclude Buyer from inspecting the Property under Paragraph 7A, from
                                negotiating repairs or treatments in a subsequent amendment, or from terminating this
                                contract during the Option Period, if any.
                                (Check one box only)
                             X (1) Buyer accepts the Property As Is.
                                (2) Buyer accepts the Property As Is provided Seller, at Seller's expense, shall complete the
                                    following specific repairs and treatments:

                                      (Do not insert general phrases, such as "subject to inspections" that do not identify specific
                                      repairs and treatments.)
                             C. COMPLETION OF REPAIRS AND TREATMENTS: Unless otherwise agreed in writing, Seller shall
                                eemplete—all—agreell—Fepaks—afte—treetaielits—pr4er--te-41%--Glesing—Dete—anci—elataici—aRy—requiFeci
                                permits. The repairs and treatments must be performed by persons who arc liocnsed to provide
                                such repairs or treatments or, if no license is required by law, arc commercially engaged in the
                                trade of providing such repairs or treatments. Seller shall: (i) provide Buyer with copies of
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                                completed; and (ii) at Seller's—expense, arrange for the transfer of—any-=tFa„efe-ablo •• ranties
                                wit-li—Fespeet7 te—the—repair-s—and—ter-eat-ments—te—Skyer—at—eleerieg,If—Setief—faile—te—eefeelete—any
                                agreed repairs and treatments prior to the Closing Date, Buyer may exorcise remedies under
                                Paragraph 15 or extend the Closing Date up to 5 days, if necessary, for Seller to complete
                                fepaifs-alid-tfeatifients
                             D. ENVIRONMENTAL MATTERS: Buyer is advised that the presence of wetlands, toxic substances,
                                including asbestos and wastes or other environmental hazards, or the presence of a threatened
                                or endangered species or its habitat may affect Buyer's intended use of the Property. If Buyer is
                                concerned about these matters, an addendum promulgated by TREC or required by the parties
                                should be used.
                             E. SELLER'S DISCLOSURE:
                                (1) Seller D is E is not aware of any flooding of the Property which has had a material
                                      adverse effect on the use of the Property.
                                (2) Seller D is R is not aware of any pending or threatened litigation, condemnation, or
                                      special assessment affecting the Property.
                                (3) Seller 0 is ii is not aware of any environmental hazards that materially and adversely
                                      affect the Property.
                                (4) Seller LI is D is not aware of any dumpsite, landfill, or underground tanks or containers
                                      now or Keviously, located on the Property.
                                (5) Seller H is        A is not aware of any wetlands, as defined by federal or state law or
                                      regulation, affecting the Property.
                                (6) Seller D is El is not aware of any threatened or endangered species or their habitat
                                      affectin the Property.
                                (7) Seller is i is not aware that the Property is located El wholly 0 partly in a floodplain.
                                (8) Seller is v is not aware that a tree or trees located on the Property has oak wilt.
                                If Seller is aware of any of the items above, explain (1iffnrh mrirctional sheets if necessary):
                                                                                                              JLJ
                    Initialed for identification by Buyer NU                              and Seller           08/04/23                                       TREC NO. 9-16
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                             Case 4:22-cv-03359 Document 97-2 Filed on 11/03/23 in TXSD Page 6 of 11
    DocuSign Envelope ID: FBB542FA-542E-4618-A49C-140C61F3CC77
                 Contract Concerning               0 Mack Washington, Hempstead , TX 77445                                                           Page 5 of 10   11-07-2022
                                                                                 (Address of Property)
                       8   BROKERS AND SALES AGENTS:
                           A. BROKER OR SALES AGENT DISCLOSURE: Texas law requires a real estate broker or sales
                                agent who is a party to a transaction or acting on behalf of a spouse, parent, child, business
                                entity in which the broker or sales agent owns more than 10%, or a trust for which the broker
                                or sales agent acts as a trustee or of which the broker or sales agent or the broker or sales
                                agent's spouse, parent or child is a beneficiary, to notify the other party in writing before
                                entering into a contract of sale. Disclose if applicable: Buyers agent, Kristen Nelson Novicke, is sister
                                to buyer Derek Nelson.
                           B. BROKERS' FEES: All obligations of the parties for payment of brokers' fees are contained in
                                separate written agreements.                                    October 18
                       9 CLOSING:
                           A. The closing of the sale will be on or before                          July 29                , 2023        , or within 7 days
                                after objections made under Paragraph 6D have been cured or waived, whichever date is later
                                (Closing Date). If either party fails to close the sale by the Closing Date, the non-defaulting                                                      JLJ
                                                                                                                                                                                    ofv07
                                                                                                                                                                                   08/0423
                                                                                                                                                                                    08/04/23
                                party may exercise the remedies contained in Paragraph 15.                                                                                       11:31
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                           B. At closing:
                                (1) Seller shall execute and deliver a general warranty deed conveying title to the Property to
                                     Buyer and showing no additional exceptions to those permitted in Paragraph 6 and furnish
                                      tax statements or certificates showing no delinquent taxes on the Property.
                                (2) Buyer shall pay the Sales Price in good funds acceptable to the Escrow Agent.
                                (3) Seller and Buyer shall execute and deliver any notices, statements, certificates, affidavits,
                                      releases, loan documents, transfer of any warranties, and other documents reasonably
                                      required for the closing of the sale and the issuance of the Title Policy.
                                (4) There will be no liens, assessments, or security interests against the Property which will
                                      not be satisfied out of the sales proceeds unless securing the payment of any loans
                                      assumed by Buyer and assumed loans will not be in default.
                                (5) 1441.ste—tFansfer—fees—Eas—eleforied—by—GliapteF—                 Stibehapter—G—ef—flie—TeNas—RrepeFt Gede)
                                      will be the obligation of Seller unless provided otherwise in this contract. Transfer fees
                                      asseseed—lay—a—pr-epefty—eWRer asseehatiee—are—gever-eed-4—the—Aeldenclum-4er—lar-epeFty
                                     Subjeet-te-Mentiatery-Meffiber-sl                     eFty-Awner-s-Asseeietiee-:
                       10. POSSESSION: Seller shall deliver to Buyer possession of the Property in its present or required
                           condition upon closing and funding.
                       11. SPECIAL PROVISIONS: (This paragraph is intended to be used only for additional informational
                           items. An informational item is a statement that completes a blank in a contract form, discloses
                           factual information, or provides instructions. Real estate brokers and sales agents are prohibited
                           from practicing law and shall not add to, delete, or modify any provision of this contract unless
                           drafted by a party to this contract or a party's attorney. NA See Ex. B Special Stipulations to this Agreement. Special
                           Stipulations in Exhibit B, if conflicting with any Exhibit Addendum, or paragraph in this Agreement, shall control. See Exhibit A. .
                       12. SETTLEMENT AND OTHER EXPENSES:
                           A. The following expenses must be paid at or prior to closing:
                              (1) Expenses payable by Seller (Seller's Expenses):
                                  (a) Releases of existing liens, including prepayment penalties and recording fees; release
                                       of Seller's loan liability; tax statements or certificates; preparation of deed; one-half of
                                       escrow fee; and other expenses payable by Seller under this contract.
                                  (b) Seller shall also pay an amount not to exceed $ NA                          to be applied in the
                                       following order: Buyer's Expenses which Buyer is prohibited from paying by FHA, VA,
                                       Texas Veterans Land Board or other governmental loan programs, and then to other
                                       Buyer's Expenses as allowed by the lender.
                              (2) Expenses payable by Buyer (Buyer's Expenses): Appraisal fees; loan application fees;
                                  origination charges; credit reports; preparation of loan documents; interest on the notes
                                  from date of disbursement to one month prior to dates of first monthly payments;
                                  recording fees; copies of easements and restrictions; loan title policy with endorsements
                                  required by lender; loan-related inspection fees; photos; amortization schedules; one-half
                                  of escrow fee; all prepaid items, including required premiums for flood and hazard
                                  insurance, reserve deposits for insurance, ad valorem taxes and special governmental
                                  assessments; final compliance inspection; courier fee; repair inspection; underwriting fee;
                                  wire transfer fee; expenses incident to any loan; Private Mortgage Insurance Premium
                                  (PMI), VA Loan Funding Fee, or FHA Mortgage Insurance Premium (MIP) as required by the
                                  lender; and other expenses payable by Buyer under this contract.
                           B. If any expense exceeds an amount expressly stated in this contract for such expense to be
                              paid by a party, that party may terminate this contract unless the other party agrees to pay
                              such excess. Buyer may not pay charges and fees expressly prohibited by FHA, VA, Texas
                              Veterans Land Board or other governmental loan program regulations.
                       13. PRORATIONS AND ROLLBACK TAXES:
                           A. PRORATIONS: Taxes for the current year, interest, rents, and regular periodic maintenance
                              fees, assessments, and dues (including prepaid items) will be prorated through the Closing
                              Date. The tax proration may be calculated taking into consideration any change in exemptions
                              that will affect the current year's taxes. If taxes for the current year vary from the amount
                              prorated at closing, the parties shall adjust the prorations when tax statements for the current
                              year are available. If taxes are not paid at or prior to closing, Buyer shall pay taxes for the
                              current year.

                    Initialed for identification by Buyer Pavili
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                                                                                         and Seller 08/04/23I                                                   TREC NO. 9-16
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    DocuSign Envelope ID: FBB542FA-542E-4618-A49C-14DC61F3CC77
                 Contract Concerning               0 Mack Washington, Hempstead , TX 77445                                                                  Page 6 of 10   11-07-2022
                                                                                      (Address of Property)

                              B.    ROLLBACK TAXES: If this sale or Buyer's use of the Property after closing results in the
                                    assessment of additional taxes, penalties or interest (Assessments) for periods prior to closing,


         (                          the Assessments will be the obligation of Buyer. If Assessments are imposed because of Seller's
                                    use or change in use of the Property prior to closing, the Assessments will be the obligation of
                                    Seller. Obligations imposed by this paragraph will survive closing.
                          14. CASUAL-TY—LOSSi—lf—any—par4—ef—the—Preperty—is—damaged—er—destroyeel—lay—fice—er other casualty
                              after the Effective Date of this contract, Seller shall restore the Property to its previous condition
                              as soon as reasonably possible, but in any event by the Closing Date. If Seller fails to do co duo
                              to factors beyond Seller's control, Buyer may (a) terminate this contract and the earnest money
                              will be refunded to Buyer (b) extend the time for performance up to 15 days and the Closing Date
                              will be extended as necessary or (o) accept the Property in its damaged condition with an
                              asaignment—ef—inaufaftee—preceed             if permitted by Seller's insurance carrier, and receive credit
                              from Seller at closing in the amount of the deductible under the insurance pokey, Seller's
                              ebiigatiens-undeFthis-paragraph-afe-independent-ef-any other obligations of Seller under this contract.
                          15. DEFAULT: If Buyer fails to comply with this contract, Buyer will be in default, and Seller may
                              (a) enforce specific performance, seek such other relief as may be provided by law, or both, or
                              (b) terminate this contract and receive the earnest money as liquidated damages, thereby
                              releasing both parties from this contract. If Seller fails to comply with this contract, Seller will be
                              in default and Buyer may (a) enforce specific performance, seek such other relief as may be
                              provided by law, or both, or (b) terminate this contract and receive the earnest money, thereby
                              releasing both parties from this contract.
                          16. MEDIATION---lt—is—th-e—pel           ef—the---Strate—ef—Te*as—te—e•Reoufage—resialutian—ef--cksputes—tlifetilla
                              alternative dispute resolution procedures &Lien as mediation, Any dispute between Seller and
                              guyer—Felated—te—this—eontFaet—which—ic-19-81—Feselved—thr-eugh—informal—discuss-ioe—will—be—submitted
                              to a mutually acceptable mediation service or provider. The partes to the mediation shall bear the
                              mediation costs equally. This paragraph does not preclude a party from seeking equitable relief
                              from a court of competent jurisdiction.
                          17. ATTORNEY'S FEES: A Buyer, Seller, Listing Broker, Other Brekefi—er—Esefew—Agent—whe—pfevalis
                              in any legal proceeding related to this contract is entitled to recover reasonable attorney's fees
                              and all costs of such proceeding.
                          18. ESCROW:
                              A. ESCROW: The Escrow Agent is not (i) a party to this contract and does not have liability for the
                                    performance or nonperformance of any party to this contract, (ii) liable for interest on the
                                    earnest money and (iii) liable for the loss of any earnest money caused by the failure of any
                                    financial institution in which the earnest money has been deposited unless the financial
                                    institution is acting as Escrow Agent. Escrow Agent may require any disbursement made in
                                    connection with this contract to be conditioned on Escrow Agent's collection of good funds
                                    acceptable to Escrow Agent.
                              B. EXPENSES: At closing, the earnest money must be applied first to any cash down payment,
                                    then to Buyer's Expenses and any excess refunded to Buyer. If no closing occurs, Escrow Agent
                                    may: (i) require a written release of liability of the Escrow Agent from all parties before
                                    releasing any earnest money; and (ii) require payment of unpaid expenses incurred on behalf
                                    of a party. Escrow Agent may deduct authorized expenses from the earnest money payable to a
                                    party. "Authorized expenses" means expenses incurred by Escrow Agent on behalf of the party
                                    entitled to the earnest money that were authorized by this contract or that party.
                              C. DEMAND: Upon termination of this contract, either party or the Escrow Agent may send a
                                    release of earnest money to each party and the parties shall execute counterparts of the
                                    release and deliver same to the Escrow Agent. If either party fails to execute the release, either
                                    party may make a written demand to the Escrow Agent for the earnest money. If only one
                                    party makes written demand for the earnest money, Escrow Agent shall promptly provide a
                                    copy of the demand to the other party. If Escrow Agent does not receive written objection to
                                    the demand from the other party within 15 days, Escrow Agent may disburse the earnest
                                    money to the party making demand reduced by the amount of unpaid expenses incurred on
                                    behalf of the party receiving the earnest money and Escrow Agent may pay the same to the
                                    creditors. If Escrow Agent complies with the provisions of this paragraph, each party hereby
                                    releases Escrow Agent from all adverse claims related to the disbursal of the earnest money.
                              D. DAMAGES: Any party who wrongfully fails or refuses to sign a release acceptable to the Escrow
                                    Agent within 7 days of receipt of the request will be liable to the other party for
                                    (i) damages; (ii) the earnest money; (iii) reasonable attorney's fees; and (iv) all costs of suit.
                              E. NOTICES: Escrow Agent's notices will be effective when sent in compliance with Paragraph 21.
                                    Notice of objection to the demand will be deemed effective upon receipt by Escrow Agent.
                          19. REPRESENTATIONS: All covenants, representations and warranties (a this contract survive
           —OS
                              eloaieg l-f—any—Feoresentatieh—of—Seiler—in—thle—centraet—is—uotnie—on—the—Gleaing—fgete Seller—will
             Ursa             be in default. Unless expressly prohibited by written agreement, Seller may continue to show the
                              Property and receive, negotiate and accept back up offers.
                          20. FEDERAL TAX REQUIREMENTS: If Seller is a "foreign person," as defined by Internal
           JLJ
           efli F             Revenue Code and its regulations, or if Seller fails to deliver an affidavit or a certificate of non-
          08/04/23
        11:31 AM EDT           foreign status to Buyer that Seller is not a "foreign person," then Buyer shall withhold from the
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               verifie
                               sales proceeds an amount sufficient to comply with applicable tax law and deliver the same to the
                               Internal Revenue Service together with appropriate tax                        forms.     Internal Revenue Service
                              regulations require filing written reports if currency in excess of specified amounts is received in
                               the transaction.

                                                                                                                  JLJ
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    DocuSign EnvelopeCase    4:22-cv-03359 Document 97-2 Filed on 11/03/23 in TXSD Page 8 of 11
                     ID: FBB542FA-542E-4618-A49C-14DC61F3CC77
                 Contract Concerning              0 Mack Washington, Hempstead , TX 77445 Page 7 of 10 11-07-2022
                                                                                     (Address of Property)



                       21. NOTICES: All notices from one party to the other must be in writing and                                                                   are   effective
                           when mailed to, hand-delivered at, or transmitted by fax or electronic transmission as follows:

                             To Buyer at:                                                                   To Seller at:




                             Phone:                                                                         Phone:


                             E-mail/Fax:                                                                    E-mail/Fax:


                             E-mail/Fax: derekrussellnelsonAgmail.com                                       E-mail/Fax:
                             With a copy to Buyer's agent at:                                               With a copy to Seller's agent at:
                             kristen@texastrustrealestate.com                                               Escrow@markdimasteam.com

                       22. AGREEMENT OF PARTIES: This contract contains the entire agreement of the parties and
                           cannot be changed except by their written agreement. Addenda which are a part of this contract
                           are (check all applicable boxes):

                                    Third Party Financing Addendum                                                Addendum for Coastal Area Property
                                    Seller Financing Addendum                                                     Environmental Assessment, Threatened or
                                    Addendum for Property Subject to                                              Endangered Species and Wetlands
                                    Mandatory Membership in a Property                                            Addendum
                                    Owners Association                                                            Addendum for Property Located Seaward
                                    Buyer's Temporary Residential Lease                                           of the Gulf Intracoastal Waterway

                                    Seller's Temporary Residential Lease                                          Addendum for Sale of Other Property by
                                                                                                                  Buyer
                                    Addendum for Reservation of Oil, Gas
                                    and Other Minerals                                                            Addendum for Property in a Propane Gas
                                                                                                                  System Service Area
                                    Addendum for "Back-Up" Contract
                                                                                                                  Other (list): Exhibit A and Exhibit B
                                    Addendum Concerning Right to
                                    Terminate Due to Lender's Appraisal
                                    Addendum containing Notice of
                                    Obligation to Pay Improvement District
                                    Assessment

                       23. CONSULT AN ATTORNEY BEFORE SIGNING: TREC rules prohibit real estate brokers and sales agents
                           from giving legal advice. READ THIS CONTRACT CAREFULLY.

                             Buyer's                                                                       Seller's
                             Attorney is:      buyers choice                                               Attorney is: sellers choice




                             Phone:                                                                        Phone:


                             Fax:                                                                          Fax:


                             E-mail:                                                                       E-mail:




                                                                                                                JLJ
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                                Case 4:22-cv-03359 Document 97-2 Filed on 11/03/23 in TXSD Page 9 of 11
    DocuSign Envelope ID: FBB542FA-542E-4618-A49C-14DC61F3CC77

                       Contract Concerning                                          0 Mack Washington, Hempstead , TX 77445                                            Page 8 of 10      11-07-2022
                                                                                                   (Address of Property)




                      EXECUTED the            day of      08/04/2023                                                                                                             (Effective Date).
                      (BROKER: FILL IN THE DATE OF FINAL ACCEPTANCE.)




                              c---DocuSigned by:
                                                                                                                                                                       4",
                                                                    0,4A-Por ASSitiAS
                      Bu er—AA231A1DE5AD42B
                      Derek Nelson and/or assigns
                                                                                                                        el er
                                                                                                                        • n Lewis, Jr.             eta(vc/
                                                                                                                                   V. C(A4 ae z                                      .

                      Buyer                                                                                           Seller




                                                             The form of this contract has been approved by the Texas Real Estate Commission. TREC forms are
                                                             intended for use only by trained real estate license holders. No representation is made as to the legal
                                                             validity or adequacy of any provision in any specific transactions. It is not intended for complex
                       TREC
                        Tra.1.S. IMIAL U.'S   COMMISSION
                                                             transactions. Texas Real Estate Commission, P.O. Box 12188, Austin, TX 78711-2188, (512) 936-3000
                                                             (http://www.trec.texas.gov) TREC NO. 9-16. This form replaces TREC NO. 9-15.

                                                                                                                                                                                  TREC NO. 9-16

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                      Contract Concerning                             0 Mack Washington, Hempstead , TX 77445                                            Page 9 of 10    11-08-2022
                                                                                    (Address of Property)




                                                                                    BROKER INFORMATION
                                                                                 (Print name(s) only. Do not sign)


                      Texas Trust Real Estate                                         9005156            Mark Dimas Properties                                          0488488
                      Other Broker Firm                                            License No.           Listing Broker Firm                                         License No.

                      represents              El Buyer only as Buyer's agent                             represents              ❑ Seller and Buyer as an intermediary
                                              ❑ Seller as Listing Broker's subagent                                              ['Seller only as Seller's agent

                      Kristen Nelson Novicke                                            635155           Mark Dimas                                                   04088488
                      Associate's Name                                              License No.          Listing Associate's Name                                    License No.


                      Team Name                                                                          Team Name

                      kristenAtexastrustrealestate.com                          (979)885-8426            escrowAmarkdimasteam.com                                  (832)220-3151
                      Associate's Email Address                                         Phone            Listing Associate's Email Address                                 Phone

                      Lori Balusek                                                     0507624
                      Licensed Supervisor of Associate                              License No.          Licensed Supervisor of Listing Associate                    License No.

                      402 4th Street                                            (979)885-6925
                      Other Broker's Address                                            Phone            Listing Broker's Office Address                                  Phone

                      Sealy                                               TX                77474
                      City                                              State                 Zip        City                                               State             Zip


                                                                                                         Selling Associate's Name                                    License No.


                                                                                                         Team Name


                                                                                                         Selling Associate's Email Address                               Phone


                                                                                                         Licensed Supervisor of Selling Associate                    License No.


                                                                                                         Selling Associate's Office Address


                                                                                                         City                                               State             Zip




                       Disclosure: Pursuant to a previous, separate agreement (such as a MLS offer of compensation or other
                       agreement between brokers), Listing Broker has agreed to pay Other Broker a fee (3% of sales price
                                                                     ). This disclosure is for informational purposes and does not change
                       the previous agreement between brokers to pay or share a commission.




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                           Case 4:22-cv-03359 Document 97-2 Filed on 11/03/23 in TXSD Page 11 of 11
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                      Contract Concerning                            0 Mack Washington, Hempstead , TX 77445                                           Page 10 of 10   11-07-22
                                                                              (Address of Property)




                                                                                      OPTION FEE RECEIPT

                      Receipt of $                                         (Option Fee) in the form of
                      is acknowledged.


                      Escrow Agent Fidelity National Title                                                                                                                   Date



                                                                                  EARNEST MONEY RECEIPT

                      Receipt of $                                         Earnest Money in the form of
                      is acknowledged.

                      Escrow Agent                                                     Received by           Email Address                                             Date/Time



                      Address                                                                                                                                             Phone


                      City                                                    State                            Zip                                                            Fax


                                                                                       CONTRACT RECEIPT

                      Receipt of the Contract is acknowledged.


                      Escrow Agent                                                      Received by          Email Address                                                   Date



                      Address                                                                                                                                              Phone


                       City                                                   State                             Zip                                                               Fax


                                                                        ADDITIONAL EARNEST MONEY RECEIPT

                      Receipt of $                                         additional Earnest Money in the form of
                      is acknowledged.

                       Escrow Agent                                                    Received by           Email Address                                             Date/Time



                       Address                                                                                                                                             Phone

                       City                                                   State                             Zip                                                               Fax




                                                                                                                                                               TREC NO. 9-16

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